          Case 1:15-vv-00279-UNJ Document 24 Filed 01/29/16 Page 1 of 2




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-279V
                                      Filed: January 8, 2016

* * * * * * * * * * * * * * * *
BRITTANY STALLINGS BENOIT,                     *            UNPUBLISHED
as mother and natural guardian, and            *
ARSENE BENOIT, as father and natural           *            Special Master Hamilton-Fieldman
guardian of GABRIEL CASH BENOIT,               *
                                               *
               Petitioners,                    *
                                               *            Attorneys’ Fees and Costs;
v.                                             *            Reasonable Amount Requested to
                                               *            which Respondent Does Not Object.
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
               Respondent.                     *
* * * * * * * * * * * * * * * *
Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioners.
Glenn MacLeod, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

        On March 18, 2015, Brittany Stallings and Arsene Benoit (“Petitioners”) filed a petition
for compensation on behalf of their minor son, Gabriel Cash Benoit, under the National
Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine Act”).
Petitioners alleged that the administration of Diphtheria-Tetanus-acellular- Pertussis (“DTaP”),
Haemophilus influenza type B (“HiB”), Polio, Pneumococcal, Rotavirus, and Hepatitis B (“Hep
B”) vaccines on March 29, 2013 caused Gabriel Benoit to suffer from injuries that resulted in his
death. On December 21, 2015, the undersigned issued an Order Concluding Proceedings
pursuant to Vaccine Rule 21(a).


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).


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          Case 1:15-vv-00279-UNJ Document 24 Filed 01/29/16 Page 2 of 2



       On January 8, 2016, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees
and Costs. Pursuant to their Stipulation, the parties have agreed to an award of $8,000.00 in
attorneys’ fees and costs. In accordance with General Order Number 9, Petitioners’ counsel
represents that Petitioners have not incurred any out-of-pocket litigation costs in pursuit of their
claim.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $8,000.00, in the
form of a check made payable jointly to Petitioners and Petitioners’ counsel, Jeffrey S. Pop.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




2
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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